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YELENA SHAROVA, ESQ. *+
*NY, +NJ                               The January 13 status conference is adjourned to February 17,
________________________________
BRUCE PROVDA ESQ.*                     2021, at 10:00 a.m. Speedy trial timeis excluded from January
CHARLES KASER ESQ.*
NANI KIM ESQ.*                         13, 2021, until February17, 2021, in the interest of justice.
CHARLES MARINO, ESQ.*
STEVEN GARFINKLE, ESQ.*+               The parties shallcall the Court at (877) 411-9748 and use access
                                                   January
                                       code 3029857#.      7, 2021
                                                      (Members   of the press and public may call
By ECF                                 the same number, but will not be permitted to speak during the
                                       conference.)
The Honorable Edgardo Ramos
United States District Judge           SO ORDERED.
Southern District of New York
40 Foley Square                                                            1/12/2021
New York, New York 10007

        Re: United States v. Fernando Rafael Ruiz, 20 Cr. 185 (ER)

Dear Judge Ramos,

       The Defendant, through Counsel, respectfully submits this letter in advance of the
conference currently scheduled for January 13, 2021, at 11 am, to request a thirty (30) day
adjournment of the conference to allow the Defendant to review the proposed plea agreement
received by the Government on or about January 5, 2021. The Court granted the parties’ prior
requests for adjournments on May 22, 2020; August 5, 2020; September 22, 2020; October 22,
2020, and November 20, 2020.

        The Government, specifically Jarrod L. Schaeffer, Assistant United States Attorney,
consents to the requested adjournment, which will permit Defense Counsel to review said proposed
agreement with the Defendant, in an effort to resolve this matter, pre-trial. For similar reasons,
the Defendant requests that the Court exclude time under the Speedy Trial Act, 18 U.S.C.§§ 3161
(h)(1)(E) and 3161 (h)(7)(A), from January 13, 2021, through the date of any newly scheduled
conference. The Government likewise consents to the exclusion of time.



                                                      Respectfully Submitted,

                                                      ___________________________
                                                      CHARLES KASER, ESQ.
                                                      Sharova Law Firm
                                                      147 Prince Street, Fourth Floor
                                                      Brooklyn, New York 11201
                                                      (718) 766 – 8207
